
 DISSENT ON TERMINOLOGY
Throughout the entirety of Chapter 26-8, Dependent, Neglected and Delinquent Children, not once do the statutes thereunder address a "child" as a "defendant;" rather under Definition of Terms, SDCL 26-8-1, the word "child" is defined. More specifically, SDCL 26-8-7 addresses and defines a "delinquent child." Before us, on appellate review, we have an appeal from an Order of Disposition declaring R.S.S. a "delinquent child" dated April 12, 1990, and ordering eighteen months probation and counseling. Juvenile proceedings are not criminal cases. At page 377, Black's Law Dictionary, 5th Edition, West Publishing, 1979, it is written:
 Defendant. The person defending or denying; the party against whom relief is or recovery is sought in an action or suit or the accused in a criminal case.
Petitions in South Dakota, not complaints, indictments, or informations, are used to present a juvenile case to a circuit judge. This results because of the language in SDCL 26-8-10, which, inter alia, requires that the petition be denominated as being in the "interest of the child." Therefore, all proceedings are in the interests of the child and the child is never to be recognized as a criminal defendant. The trial court should balance the fundamental right of the parent with the bestinterests of the child and the public. People in Interest ofP.M., 299 N.W.2d 803 (S.D. 1980). To use the word "defendant," referring to the child as such, is antithetical to the entire scheme and purpose of this state's juvenile code. As the majority opinion approvingly describes this "child" as a "defendant," violating the very nature of these proceedings, and to countenance such a description in the highest court of this state, would be offensive to the trial judges, legislators, parents, children, and social agencies of this state, I expressly dissent to the use of such terminology.
 DISSENT SCOPE OF REVIEW IN JUVENILE PROCEEDINGS
Majority opinion fails to delineate and distinguish the sequential presentation of factual proof in the adjudicatory and dispositional phases of juvenile proceedings. We must not confuse the requirements of proof in civil evidence, criminal evidence, and juvenile proceedings evidence. Under SDCL 19-9-14(7), strict rules of evidence do not apply to "Disposition hearings in juvenile court." See also, In Matter of C.J.H., 371 N.W.2d 345
(S.D. 1985). Note current opinion, Matter of H.M. and S.M.,474 N.W.2d 267, handed down by this Court August 14, 1991, written by Justice Wuest, joined by three Justices, with Justice Sabers dissenting on "hearsay evidence" at the dispositional hearing, said dissent postured against the juvenile code *Page 752 
and precedent in this Court. By implication, the "Rules of Evidence" do apply to adjudicatory proceedings. Why? Because SDCL19-9-14, in its last sentence, expresses: Those chapters other than those with respect to privileges do not apply in the following situations: (1)(2)(3)(4)(5)(6)(7) Disposition hearings in juvenile court.
Further, SDCL 26-7A-34(2) significantly broadens the trial court's responsibilities, and, therefore his discretion, permitting the trial court to take evidence at the dispositional hearing on (a) history (b) environment (past and present), physical, mental, and moral condition of the child and of the child's parents.
Majority's employment of the application of strict rules of evidence, found in severed breakdowns by alphabetical letters, using a criminal law case such as State v. Luna, is entirely inapposite in light of the above statutes and authorities. Unfortunately, the tendered majority opinion cites several other criminal cases.* It mistakenly attempts to implant the criminal rules of evidence upon juvenile proceedings.
Majority opinion needlessly tracks the Rules of Evidence herein when it appears that the trial court did not refer to "inadmissible bad acts" or "hearsay evidence." Rather, trial court focused on physical abuse on the evening of August 5, 1989. There are seven and one-half pages of the majority opinion on these two subjects. If the trial court did not base a decision upon either of these subjects, why does the majority opinion discourse, for seven and one-half pages, i.e., approximately 1,800 words, upon these two subjects? Is it not sua sponte and obiter dicta?
Therefore, as the thread of the majority opinion is inapposite and not applicable to the trial court's decision, I dissent on the scope of review which is interspersed throughout the opinion spawning difficult, if not impossible, dissection.
 CONCURRING IN RESULT IN PART
I concur in part to two paragraphs of this opinion only, i.e., the first full paragraph on page 750 thereof (concerning presumptions on improperly admitted testimony) and the last paragraph on page 750 (regarding the trial court's decision being based on admissible testimony).
* Other criminal cases cited are Itzen, Reutter, Klein, EagleHawk, Bradley, Basker, Rufener, Bawdon, Bult, McCafferty, andSpronk. *Page 897 